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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

STEPHANIE FLEMING,
                                    Plaintiff,
v.                                                Case No: 5:18-CV-333 M

LIBERTY INSURANCE CORPORATION,
                                  Defendant.               JURY TRIAL DEMANDED

                            FIRST AMENDED COMPLAINT

       COMES NOW the Plaintiff, Stephanie Fleming, and for her Amended Petition

against Defendant, Liberty Insurance Corporation, alleges and states:

       1.     At all times material hereto Plaintiff’s home was insured by Defendant

Liberty Insurance Corporation, policy no. H3729168981240 and the policy was in force

at all times material hereto.

       2.     Plaintiff’s home was damaged by a covered loss on November 22, 2017.

       5.     Defendant received timely notice of this covered loss and Plaintiff’s request

for insurance policy benefits.    Plaintiff cooperated with any and all requests from

Defendant for investigation of the loss.

       6.     This loss was a covered loss under Plaintiff’s insurance policy with

Defendant which entitled Plaintiff to dwelling and personal property coverage benefits.

       7.     Defendant breached the insurance agreement and the implied covenant of

good faith and fair dealing by refusing to properly adjust this claim and properly assess

and pay the full amount of damage to the structure and contents.
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       8.     In their handling of the Plaintiff claim and as a matter of standard business

practice, Defendant breached the insurance contract and the implied covenant of good

faith and fair dealing by:

              a.     failing and refusing full and proper payment and other policy
                     benefits on behalf of Plaintiff at a time when Defendant knew that it
                     was entitled to those benefits;

              b.     failing to properly investigate Plaintiff claims and to obtain
                     additional information both in connection with the original refusal
                     and following the receipt of additional information;

              c.     withholding payment of the benefits on behalf of Plaintiff knowing
                     that Plaintiff’s claims for those benefits were valid;

              d.     intentionally refusing to acknowledge the full extent of damage to
                     Plaintiff’s home;

              e.     intentionally misleading Plaintiff as to the full extent of damage to
                     Plaintiff’s home;

              f.     refusing to honor Plaintiff’ claims in some instances by knowingly
                     misconstruing and misapplying provisions of the policy;

              g.     failing to adopt and implement reasonable standards for the prompt
                     investigation and reasonable handling of claims arising under these
                     policies, to include Plaintiff’ claims;

              h.     not attempting in good faith to effectuate a prompt, fair and
                     equitable settlement of Plaintiff’s claims once liability had become
                     reasonably clear; and,

              i.     failing to properly evaluate any investigation that was performed;

all in violation of the contract and covenant of good faith and fair dealing and resulting in

a financial benefit to Defendant.

       9.     Plaintiff has suffered emotional distress, embarrassment and financial loss

as a direct result of the above described actions by Defendant.

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       10.     The actions of Defendant were reckless and wanton or intentional and with

malice entitling Plaintiff to punitive damages.

       WHEREFORE, Plaintiff prays for judgment against the Defendant, Liberty

Insurance Corporation, for both compensatory damages and punitive damages, with

interest and costs of this action, for a reasonable attorney fee, and for such other relief as

may be appropriate. The amount sought as damages in in excess of the amount required

for diversity jurisdiction pursuant to §1332 of Title 28 of the United States Code.

                                           MANSELL ENGEL & COLE


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